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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER SETTING FURTHER
13     v.                                                  STATUS CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           A status conference was held on May 8, 2019. After consulting with counsel and
19     being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    The next Joint Status Report shall be filed on or before 3:00 p.m. on June 6, 2019.
21     2.    A further status conference shall be held on June 7, 2019, at 1:00 p.m. The dial-in
22     number for any counsel who wish to listen in only and members of the news media is as
23     follows.
24           a.     Dial the toll free number: 877-411-9748;
25           b.     Enter the Access Code: 6246317 (Participants will be put on hold until the
26                  Court activates the conference call);
27           c.     Enter the Participant Security Code 06070428 and Press # (The security code
28                  will be confirmed);

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 1           d.       Once the Security Code is confirmed, participants will be prompted to Press
 2                    1 to join the conference or Press 2 to re-enter the Security Code.
 3     As above, members of the general public may attend in person. All persons dialing in to
 4     the conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 5     proceedings.
 6           Counsel for the Ms. L. Class shall provide notice of this order to counsel for Plaintiffs
 7     in any of the related cases that wish to appear.
 8      Dated: May 8, 2019
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